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7-INS-CC-03029 1821

CERTIFICATE OF COUNSELING

I CERTIFY that on December 11, 2017, at 5:01 o'clock PM PST, Paul D Richards

received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.

§ 111 to provide credit counseling in the Southern District of Indiana, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: December 11, 2017 By: — /s/Lea Sorino
Name: Lea Sorino

Title; Counselor

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ L09(h) and 521(b).

 

 

 

 

 

 
